                   Case 4:07-cr-00317-JM        Document 820                 Filed 06/07/12     Page 1 of 3


PROBUB
                                                                                                        FILED
                                                                                                      U.S. DISTRICT COURT
ED'AII (lv:!OIO)                                                                                  EASTERN DISTRICT ARKANSAS


                                        United States District Court                                  JUN 07 2012
                                                            for the                                                    CLERK
                                           Eastern District of Arkansas

                          Request for Modifying the Conditions or Term of Supervision
                                         with Consent of the Offender
                                       (ProiHidtm F•"" 49, lf'11lrn •IHarill6 is AtltlclldJ

                                                                                                               I

  Name of Offender: Mandy Renee Lee                                             Case Number:   4:07CR00317-~-JMM
 Name of Sentencing Judicial Officer:            Honorable James M. Moody
                                                 United States District Judge
 Offense:                      Misprision of a Felony
 Date of Sentence:             February22, 2010
 Sentence:                     4 years probation, substance abuse treatment, drug testing, DNA testing and
                               $1 00 special penalty assessment
 Type of Supervision:          Probation                      Date Supervision Commenced: February 22,2010
                                                              Expiration Date: February 21,2014
 Asst. U.S. Attorney: Anne Gardner                            Defense Attorney: To be detennined
 U.S. Probation Officer: Dwayne M. Ricks
 Phone No.: 501-604-5273


                                           PETITIONING THE COURT

To modify the conditions of supervision as follows:

            The defendant shall participate in mental health counseling under the guidance and supervision
            of the U.S. Probation Office

                                                          CAUSE

On March 9, 2012, Ms. Lee requested pennission to attend mental health counseling in order to address
some persOnal issues that were having a negative effect on her life. On March 29, 2012, Ms. Lee signed
a Prob 49 waiver agreeing to the above-mentioned condition. On this same date, Ms. Lee signed an
admission of drug use fonn indicating she had used methamphetamine on March 29,2012.

On April26, 2012, Ms. Lee spoke with Federal Public Defender Kim Driggers, who also agreed to the
modification.
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 Probl2B                                             -2-                         Request for Modifying the
                                                                        Conditions or Terms of Supervision
                                                                              with Consent of the Offender




  Dwayne M. Ricks                                               Anne Gardner
  U.S. Probation Officer                                        Assistant U.S. Attorney

  Date:    -5f] /; ~                                            Date:



This form is to be filed with Criminal Docketing as a motion.




THE COURT ORDERS:
[ 1       No Action
          The Extension ofSupcrvision as Noted Above
bd
[ 1
          The Modification of Conditions as Noted Above
          Other




                                                              Dme

This fonn is to be tiled with Criminal Docketing ns an order and/or petition.

Approved:




DMRJsli


c: Federal Public Defender Office, 1401 West Capitol Avenue, Suite 490, Little Rock, AR 72201
   Assistant U.S. Attorney, Anne Gardner, P.O. Box 1229, Little Rock, AR 72203
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      . ..

    PROB49
                                       Waiver of Hearing to ModifY Conditions
                            of Probation/Supervised Release or Extend Tenn of Supervision

                             UNITED STATES DISTRICT COURT
                                         for the
                             EASTERN DISTRICT OF ARKANSAS

           I have been advised and understand that I am entitled by law to a hearing and assistance
    of counsel before any unfavorable change may be made in my Conditions of Probation and
    Supervised Release or my period of supervision being extended. By 'assistance of counsel', I
    understand that I have the right to be represented at the hearing by counsel of my own choosing if
    I am aple to retain counsel. I also understand that I have the right to request the Court to appoint
    counsel to represent me at such a hearing at no cost to myself ifl am not able to retain counsel of
    my own choosing.

             I hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. I
    also agree to the following modification of my Conditions of Probation and Supervised Release
    or to the proposed extension of my tenn of supervision:

    The defendant shall participate in mental health counseling under the guidance and supervision
    of the U.S. Probation Office.


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                                                                    e;;;._ ~
                                                           Signed:o - #                •
                                                                  Probationer or Supervtsed Releasee

                                         .               ATE
